Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 1 of 37
    Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 2 of 37




1
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 3 of 37
         Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 4 of 37




                                                                           has an interest because

Borowicz opposes the election of progressive candidates in local, state and federal elections
         Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 5 of 37




              has an interest because Eng opposes the election of progressive candidates in local,

state and federal elections



                              has an interest because Dannerth opposes the election of progressive

candidates in local, state and federal elections



                    has an interest because Kroner opposes the election of progressive candidates in

local, state and federal elections



        has an interest because Nelson opposes the election of progressive candidates in state and

federal elections



          has an interest because Metcalfe opposes the election of progressive candidates in state

and federal elections



               has an interest because Keefer opposes the election of progressive candidates in

state and federal elections



          has an interest because Diamond opposes the election of progressive candidates in state

and federal elections
         Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 6 of 37




          an interest because Dush opposes the election of progressive candidates in state and

federal elections



              an interest because Gregory opposes the election of progressive candidates in state

and federal elections



          an interest because Ryan opposes the election of progressive candidates in state and

federal elections.



                         has an interest because Harvey opposes the election of progressive

candidates in local, state and federal elections. Harvey is a Republican Candidate for Congress in

the Third Congressional District which includes part of the City of Philadelphia.



              Torres has an interest because Torres opposes the election of progressive

candidates in local, state and federal elections. Torres is a Republican Candidate for Congress in

the Second Congressional District which includes part of the City of Philadelphia.



                has an interest because Pruett opposes the election of progressive candidates in

local, state and federal elections. Torres is a Republican Candidate for Congress in the Fifth

Congressional District which includes part of the City of Philadelphia and Delaware County.
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 7 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 8 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 9 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 10 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 11 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 12 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 13 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 14 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 15 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 16 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 17 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 18 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 19 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 20 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 21 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 22 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 23 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 24 of 37
    Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 25 of 37




3
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 26 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 27 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 28 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 29 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 30 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 31 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 32 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 33 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 34 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 35 of 37
Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 36 of 37
    Case 4:20-cv-01761-MWB Document 1 Filed 09/25/20 Page 37 of 37




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